Case 2:24-cv-06635-JXN-LDW          Document 86        Filed 10/25/24      Page 1 of 5 PageID: 4551




                                          October 25, 2024
  VIA CM/ECF

  The Honorable Julien Xavier Neals
  United States District Judge
  District of New Jersey
  MLK Jr. Federal Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07102

  Re:    Federal Trade Commission v. TheFBAMachine Inc. et al.,
         Civ. No. 24-06635 (JXN) (LDW)

  Dear Judge Neals,

          In accordance with the Court’s September 18, 2024 order (Docket No. 79), the parties
  hereby submit this joint status letter to advise the Court regarding Defendants’ compliance with
  the Temporary Restraining Order (“TRO”) (ECF No. 5) and Stipulated Preliminary Injunction
  (“PI”) (ECF No. 54) issued by this Court.
         Plaintiff’s Position
         Pre-Hearing Events
          The Court issued the TRO on June 3 and the PI on August 8, with no gaps in between.
  Rozenfeld was personally served with the TRO on June 5 and signed the stipulated PI while
  represented by counsel on August 5. Both orders include an asset freeze, a requirement to fill out
  forms attached to the orders (Attachments A (personal financial disclosure form), B (corporate
  financial disclosure form), C (IRS form) and D (Consent to Release Financial Records)), various
  receivership provisions, including the requirement to turn over business records and mobile
  devices used for business purposes to the Receiver, and a requirement to distribute the order. 1
  The Receiver met Rozenfeld in Miami, Florida, on June 6 and asked him whether he used his
  cell phone for business purposes. Rozenfeld claimed it was only used for personal use and
  therefore did not turn it over to the Receiver.
          The first deadline to turn over the Attachments described above was June 10. Nothing
  was turned over. On June 17 and 18, Defendants submitted seven of the nine required financial
  disclosure forms (TRO Attachments A and B), but they were substantively deficient. Defendants
  did not provide financial disclosure forms for Wraith or Passive Scaling. The Receiver’s
  accountant asked for various financial documents and the FTC sent a deficiency letter outlining

  1
   To date, the Defendants have not submitted the sworn acknowledgment under Section XXII of
  the TRO that requires them to provide the names and contact information for each person or
  entity required to receive a copy of the order. To our knowledge, Defendants may not have
  served anyone with the Order.
                                                  1
Case 2:24-cv-06635-JXN-LDW           Document 86        Filed 10/25/24      Page 2 of 5 PageID: 4552




  the many ways Defendants were violating the TRO, but Defendants did not supplement any of
  the previously submitted Attachments. It wasn’t until July 29, 54 days after Rozenfeld was
  served with the TRO, that he requested access to Quickbooks for assistance in completing the
  financial disclosure forms. To be clear, some of the missing information is not in Quickbooks
  and could be filled out without access. For example, Rozenfeld’s disclosure form is missing his
  employment, businesses he owns, mortgage information, and lawsuits against Rozenfeld and his
  wife.
         As of early August, Attachments C and D had not been turned over. In addition, the
  Receiver stated in his report on July 28 that Rozenfeld’s cell phone was being used for business
  purposes and yet Rozenfeld refused to turn it over.
          The Court issued the PI on August 8, making August 13 the new deadline for any
  unfinished financial disclosure forms and other attachments. Also on August 8, the Receiver
  notified Defendants that Rozenfeld had used a credit card in the name of Daily Distro in
  violation of the TRO and PI. On August 13, 69 days after Rozenfeld was served with the TRO
  and 5 days after the Court signed the PI, no attachments were turned over or supplemented.
  Although the Receiver did not turn over the requested Quickbooks files until August 16, those
  files do not include records for Rozenfeld personally, FBA Machine, 1 HR Delivery, Daily
  Distro, Hourly Relief, or Wraith. All these relevant financial disclosure forms are still
  substantively deficient, except the financial disclosure for Wraith which Defendants never
  provided at all. In addition, Defendants did not provide Attachments C and D, and Rozenfeld
  continued to refuse to turn over his cell phone despite repeated demands.
         Although the Receiver provided the Quickbooks files to defense counsel on August 16, it
  wasn’t until September 10, nearly one month later, that Mr. Usher downloaded the files. It then
  wasn’t until September 17, the night before the first contempt hearing, that Mr. Usher realized
  the Receiver had not sent all the Quickbooks files, but only the ones for FBA Support.
  Immediately upon discovering the error, the Receiver provided the remaining Quickbooks files
  for 3PL Automation, Passive Scaling, and Sales Support (as well as two other companies not
  named in the FTC’s Second Amended Complaint).
         On September 17, 104 days after he was served with the TRO, Rozenfeld sent over
  Attachment C filled out for most of the corporate defendants, but he failed to fill out the form for
  two corporate defendants, Sales Support and Wraith. Attachment D has still not been signed. On
  September 18, the FTC received Rozenfeld’s cell phone, 105 days after he was served with the
  TRO. This was copied and promptly returned to Rozenfeld.
           In addition, on August 27 the Receiver spoke with a previous client of Passive Scaling
  who reported he had reached out to Rozenfeld under the guise of wanting to open an Amazon
  store as a new customer. The consumer’s father, also a Passive Scaling client, lost over $100,000
  to this business opportunity scheme. Rozenfeld texted with this consumer about opening an
  Amazon store, and Rozenfeld referred him to his FBA Machine YouTube channel for more
  information and represented that he had warehouses all over the country. FBA Machine is a
  corporate defendant under the control of the Receiver. See attached PX 39.

                                                   2
Case 2:24-cv-06635-JXN-LDW          Document 86        Filed 10/25/24      Page 3 of 5 PageID: 4553




         Post-Hearing Events
          On September 18, the Court granted Defendants additional time to come into compliance.
  In the several weeks after the hearing, Mr. Susi asked for access to the Quickbooks platform (in
  addition to the raw data that he already received), access to “cloud accounts,” and access to bank
  accounts.
             •   September 23: Receiver’s counsel offered to schedule a call between the
                 Receiver’s accountant and Rozenfeld’s accountant. Receiver’s counsel provided a
                 date and time, and Defendants did not respond. No call occurred.
             •   September 24: the FTC turned over all the corporate bank statements that it
                 received during its investigation.
             •   September 27:
                     o the Receiver granted access to the Quickbooks platform (so that Rozenfeld
                          could access the platform and not just the raw data he already received).
                          However, the Receiver did not receive a 2-factor authentication request for
                          login to the Quickbooks platform from Rozenfeld until October 23, nearly
                          a month later—and only after Plaintiff’s counsel stated during a meet-and-
                          confer that no 2-factor authentication request had been received.
                     o the FTC sent profit and loss statements it found among the information
                          copied during the immediate access for Wraith, 3PL, FBA Support NJ,
                          Passive Scaling, and Sales Support.
             •   October 14: after some back and forth negotiating access to the entire Google
                 Suite platform the FTC imaged during the immediate access, Rozenfeld received
                 a copy of this platform on a hard drive provided by the FTC.
             •   October 21: the FTC emailed one specific account as requested by Rozenfeld
                 (even though this account was also on the hard drive received on October 14).
                 Rozenfeld downloaded this file on October 23.
             •   October 22: Mr. Susi told the FTC that Rozenfeld did not start uploading the hard
                 drive he received on October 14 until October 20 or 21 and it will take 170 hours
                 to upload.
             •   October 24: Rozenfeld’s accountant finally met with the Receiver’s accountant
                 and said that he could not access the Google Drive, he needed to modify the tax
                 returns to reclassify accounts, and he was missing some company information in
                 Quickbooks.
                           The Quickbooks accounts he referenced were not part of the
                              Quickbooks files when the FTC imaged the accounts on June 6. All
                              accounts imaged on that date were turned over.
                           The FTC provided the passcode to access the hard drive on October 15
                              and resent it on October 24.
             •   October 25: Rozenfeld submitted Attachment D for all Defendants and submitted
                 a new Attachment A. This individual financial disclosure form is inconsistent with
                 the first one submitted and still deficient:
                           Missing and incomplete employment and income history (Item 6)
                                                  3
Case 2:24-cv-06635-JXN-LDW           Document 86        Filed 10/25/24     Page 4 of 5 PageID: 4554




                            Left blank or incomplete – Items 11, 17, 21, 23, 25, 26
                            Missing most required attachments (Item 24)
                             • E.g., missing required bank statements
                            Dated September 25, 2024, but not provided to us until October 25,
                             2024
          Between September 18 and today, the FTC has provided Rozenfeld with everything he
  has requested, and yet Defendants have not turned over the missing or deficient items. Now
  Defendants request more time to complete the missing items. This conduct is similar to how
  Rozenfeld treated his consumer clients. He strung them along, responded only when he had to,
  and ultimately failed to fulfill his promises. See, e.g., PX 18.
          This is also not the first time Defendant Rozenfeld, represented by Mr. Usher, has not
  complied with court orders or turned over required documents. See attached PX 20 excerpts.
  Rozenfeld’s continued dilatory conduct in this matter, combined with his use of the same tactics
  in other lawsuits brought against him or his companies, show he does not take this matter
  seriously.
          In sum, in addition to violating the TRO and PI by incurring charges on a corporate
  defendant’s credit card and soliciting business for a corporate defendant, to date, Defendants
  have still:
         a. failed to fill out Attachment C for Sales Support and Wraith
         b. failed to fill out financial disclosure forms (Attachment B) for Passive Scaling and
            Wraith
         c. supplemented financial disclosure form (Attachment A) for Rozenfeld, but the form is
            still missing required information
         d. failed to supplement financial disclosure forms (Attachment B) with required
            information for 3PL Automation, 1HR, Hourly Relief, Daily Distro, FBA Support,
            FBA Machine, and Sales Support
        The FTC requests the Court hold the hearing on October 30 and find Defendants in
  contempt.
         Defendants’ Position
           When served with the TRO and PI, it has been Defendants’ every intention to comply
  with the order. Defendant Steven Rozenfeld allowed the Receivership to assume control of the
  Corporate Defendant and took efforts to allow them to do their job. Defendants stipulated to the
  preliminary injunction in this matter, in the hopes that a resolution could be reached more
  swiftly.
          Defendants understand that financial information is needed so that this issue can be
  resolved. Defendants have not filed taxes since 2020 (with some Defendants having never filed
  since they were created after 2020). If Defendants had all of the information that they needed, it
  would be a simple process to provide the financial information that is needed. On October 24,


                                                   4
Case 2:24-cv-06635-JXN-LDW           Document 86       Filed 10/25/24      Page 5 of 5 PageID: 4555




  2024, bookkeeper for Defendants, Eric was able to speak with the accountant for the Receiver
  and explain that specific accounts within quickbooks and certain bank statements are needed.
          The Receiver provided the QuickBooks information on August 16, 2024. Defendants
  needed someone to help put financial records together. Defendants’ original bookkeeper Eric was
  not available at the time. Since the Corporate Defendants were shut down, he had moved on and
  now works as a busdriver. Defendants reached out to a new bookkeeper, but ultimately, Eric was
  the one person who best knows where information might be stored and what is needed.
  Defendants have again retained his services since he became available last week. Defendants did
  not receive the full google drive account until October 14, 2024, nearly a month after the
  hearing. Without Eric, Defendants had difficulty in explaining what was needed to the Receiver.
  The original QuickBooks production was missing several companies. The Receiver provided
  additional information upon request. Now that their accountants and Defendants’ bookkeeper
  have spoken, Defendants are hopeful that any confusion has been resolved.
          As there is still outstanding information needed, Defendants request a brief adjournment
  to give the Defendants the opportunity to put together what the FTC is seeking pursuant to the
  Order of this Court. The FTC in particular lists the following:
         a. failed to fill out Attachment D for all Defendants
         b. failed to fill out Attachment C for Sales Support and Wraith
         c. failed to fill out financial disclosure forms (Attachment B) for Passive Scaling and
            Wraith
         d. failed to supplement financial disclosure form (Attachment A) for Rozenfeld
         e. failed to supplement financial disclosure forms (Attachment B) for 3PL Automation,
            1HR, Hourly Relief, Daily Distro, FBA Support, FBA Machine, and Sales Support
          Defendants have now provided Attachment D. Defendants have provided an amended
  Attachment A. Defendants intend to provide Attachment B for Passive Scaling and Wraith in
  addition to Attachment C for Sales Support and Wraith as soon as possible and had hoped to
  have it prior to the submission of this letter. Defendants have not supplemented Attachment B.
  Once Defendants’ Bookkeeper has the necessary records, they will provide supplemental
  information or amended forms that should resolve any outstanding issues. Defendants seek the
  additional time so that the required financial disclosures can be complete prior to the hearing.


  Sincerely,
  /s/ Colleen Robbins                          /s/ Mikhail Usher
  Frances Kern                                 Mikhail Usher
  Colleen Robbins                              Alexander Susi
  Counsel for Plaintiff                        Counsel for Defendants




                                                  5
